              Case 2:11-cr-00365-GEB Document 157 Filed 02/07/13 Page 1 of 5


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     RONALD REEVES
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                     )       No. CR-S-11-365-GEB
 9
                                                   )
                                                   )
10          Plaintiff,                             )       STIPULATION REGARDING
                                                   )       EXCLUDABLE TIME PERIODS
11
     v.                                            )       UNDER SPEEDY TRIAL ACT;
                                                   )       [PROPOSED] FINDINGS AND ORDER
12
     JOSE AGUILAR-MADRIZ,                          )
                                                   )
13
                                                   )       Date: April 19, 2013
                                                   )       Time: 9:00 a.m.
14
            Defendants.                            )       Judge: Honorable Garland E. Burrell, Jr.
                                                   )
15
                                                   )
16

17
            The United States of America through its undersigned counsel, Daniel S. McConkie, Jr.,
18

19   Assistant United States Attorney, together with counsel for defendant Jose Aguilar-Madriz,

20   Preciliano Martinez, Esq., counsel for defendant Ronald Reeves, John R. Manning, Esq., counsel
21
     for defendant Artemio Aguilar, Dan F. Koukol, Esq., counsel for defendant Juan Silva, Carl E.
22
     Larson, Esq., counsel for defendant Salvador Silver, J Toney, Esq., counsel for defendant David
23

24
     Martinelli, Michael B. Bigelow, Esq., counsel for defendant Gregorio Zapien-Mendoza, Scott N.

25   Cameron, Esq., counsel for defendant Gabino Cuevas-Hernandez, Hayes H. Gable, III, Esq.,
26
     counsel for defendant Moses Puledo Aguilar, Clemente M. Jimenez, Esq., counsel for defendant
27
     German Alvarez Ortega, Michael D. Long, Esq., counsel for defendant Adam Gutierrez Cruz,
28




                                                       1
             Case 2:11-cr-00365-GEB Document 157 Filed 02/07/13 Page 2 of 5


     Erin J. Radekin, Esq., counsel for defendant Manuel Madriz Sanchez, Kyle R. Knapp, Esq., and
 1

 2   counsel for defendant Pedro Aguilar Aguilar, Olaf W. Hedberg, Esq., hereby stipulate the

 3   following:
 4
        1. By previous order, this matter was set for status conference on February 8, 2013.
 5
        2. By this stipulation, the defendants now move to continue the status conference until April
 6

 7
     19, 2013 and to exclude time between February 8, 2013 and April 19, 2013 under the Local

 8   CodeT-4 (to allow defense counsel time to prepare).
 9      3. The parties agree and stipulate, and request the Court find the following:
10
            a. Counsel for the defendants need additional time to review the discovery, conduct
11
                  investigation, and continue negotiations with prosecution in an effort to reach a
12

13                resolution.

14          b. Currently the discovery in this case includes 129 pages and two video DVDs.
15
            c. Counsel for the defendants believe the failure to grant a continuance in this case
16
                  would deny defense counsel reasonable time necessary for effective preparation,
17
                  taking into account the exercise of due diligence.
18

19          d. The Government does not object to the continuance.

20          e. Based on the above-stated findings, the ends of justice served by granting the
21
                  requested continuance outweigh the best interests of the public and the defendants in
22
                  a speedy trial within the original date prescribed by the Speedy Trial Act.
23
            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
24

25                Section 3161(h)(7)(A) within which trial must commence, the time period of

26                February 8, 2013 to April 19, 2013, inclusive, is deemed excludable pursuant to 18
27
                  United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
28




                                                       2
              Case 2:11-cr-00365-GEB Document 157 Filed 02/07/13 Page 3 of 5


                Local Code T-4 because it results from a continuance granted by the Court at
 1

 2              defendant’s request on the basis of the Court’s finding that the ends of justice served

 3              by taking such action outweigh the best interest of the public and the defendants in a
 4
                speedy trial.
 5
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 6

 7
     Speedy Trial Act dictate that additional time periods are excludable from the period within which

 8   a trial must commence.
 9      IT IS SO STIPULATED.
10
     Dated: February 5, 2013                                       /s/ Preciliano Martinez
11                                                                PRECILIANO MARTINEZ
                                                                  Attorney for Defendant
12
                                                                  Jose Aguilar-Madriz
13
     Dated: February 5, 2013                                       /s/ John R. Manning
14                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
15
                                                                  Ronald Reeves
16
     Dated: February 5, 2013                                      /s/ Dan F. Koukol
17                                                                DAN F. KOUKOL
                                                                  Attorney for Defendant
18
                                                                  Artemio Aguilar
19
     Dated: February 5, 2013                                       /s/ Carl E. Larson
20                                                                CARL E. LARSON
                                                                  Attorney for Defendant
21
                                                                  Juan Silva
22
     Dated: February 5, 2013                                      /s/ J Toney
23                                                                J TONEY
                                                                  Attorney for Defendant
24
                                                                  Salvador Silva
25
     Dated: February 5, 2013                                      /s/ Michael B. Bigelow
26                                                                MICHAEL B. BIGELOW
27
                                                                  Attorney for Defendant
                                                                  David Martinelli
28




                                                      3
             Case 2:11-cr-00365-GEB Document 157 Filed 02/07/13 Page 4 of 5



 1

 2   Dated: February 5, 2013                        /s/ Scott N. Cameron
                                                    SCOTT N. CAMERON
 3                                                  Attorney for Defendant
                                                    Gregorio Zapien-Mendoza
 4

 5   Dated: February 5, 2013                        /s/ Hayes H. Gable
                                                    HAYES H. GABLE
 6                                                  Attorney for Defendant
 7
                                                    Gabino Cuevas-Hernandez

 8   Dated: February 5, 2013                        /s/ Clemente Jimenez
                                                    CLEMENTE JIMENEZ
 9                                                  Attorney for Defendant
10
                                                    Moses Puledo Aguilar

11   Dated: February 5, 2013                        /s/ Michael D. Long
                                                    MICHAEL D. LONG
12
                                                    Attorney for Defendant
13                                                  German Alvarez Ortega

14   Dated: February 5, 2013                        /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
15
                                                    Attorney for Defendant
16                                                  Adan Guitierrez Cruz

17   Dated: February 5, 2013                        /s/ Kyle R. Knapp
                                                    KYLE R. KNAPP
18
                                                    Attorney for Defendant
19                                                  Manuel Madriz Sanchez

20   Dated: February 5, 2013                        /s/ Olaf W. Hedberg
                                                    OLAF W. HEDBERG
21
                                                    Attorney for Defendant
22                                                  Pedro Aguilar Aguilar

23

24

25

26

27

28




                                           4
                            Case 2:11-cr-00365-GEB Document 157 Filed 02/07/13 Page 5 of 5



 1
     Dated: February 5, 2013                                             Benjamin B. Wagner
 2                                                                       United States Attorney

 3                                                               by:     /s/ Daniel S. McConkie, Jr..
                                                                         DANIEL S. MCCONKIE, JR.
 4
                                                                         Assistant U.S. Attorney
 5
                                                        ORDER
 6

 7                         IT IS SO FOUND AND ORDERED.

 8
     Date: 2/7/2013

 9
                                                    ___________________________________
10                                                  GARLAND E. BURRELL, JR.
                                                    Senior United States District Judge
11   DEAC_Signature-END:




12
     61khh4bb
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                            5
